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IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF GEORGIA

ATLANTA DIVISION
THE STATE OF GEORGIA, CIVIL ACTION FILE
y. No. 1:23-CV-03621-SCJ
MARK RANDALL MEADOWS, RE: NOTICE OF REMOVAL OF
FULTON COUNTY SUPERIOR
Defend COURT INDICTMENT NO.
efendant. 23SC188947
ORDER

This matter appears before the Court on a Motion to Intervene filed by non-
party David Andrew Christenson. Doc. No. [57]. Movant seeks to intervene “on
behalf of himself, the American People, and Humanity.” Id. at 1.

Mr. Christenson “has not shown that he has any basis, under the Federal

Rules of Civil Procedure, to intervene as of right or otherwise.” Trump v. Cohen,
No. 1:23-CV-21377, 2023 WL 3778255, at *1 (S.D. Fla. May 15, 2023) (quoting

Bragg v. Jordan, No. 1:23-CV-3032 [ECF No. 36] (S.D.N.Y. Apr. 19, 2023)). Federal

Rule of Civil Procedure 24(a)(2) requires a third party moving for intervention as
of right to show that: “(1) his application to intervene is timely; (2) he has an

interest relating to the property or transaction which is the subject of the action;

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(3) he is so situated that disposition of the action, as a practical matter, may
impede or impair his ability to protect that interest; and (4) his interest is

represented inadequately by the existing parties to the suit.” Huff v. Comm’r of

Internal Revenue Serv., 743 F.3d 790, 795 (11th Cir. 2014) (internal citation

omitted). Other than the timeliness of his motion, Mr. Christenson has not met
these requirements. Accordingly, the Motion to Intervene Doc. No. [57] is

DENIED.

IT IS SO ORDERED this _AT+h_ day of August, 2023.

Abi Of

HONORABLE STEVE EC. JONES
UNITED STATES DISTRICT JUDGE

